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                                                                                     2017 Jul-18 PM 12:53
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          EASTERN DIVISION

DEMARGIONA SMITH,                          )
                                           )
        Plaintiff,                         )
                                           )
v.                                         ) Case No.: 1:17-CV-0958-VEH
                                           )
COOSA VALLEY MEDICAL                       )
CENTER,                                    )
                                           )
        Defendant.                         )


             ORDER DISMISSING CASE WITHOUT PREJUDICE

        All parties hereto have filed a Joint Stipulation of Dismissal Without Prejudice

(doc. 10). Therefore, the court hereby ORDERS that this action and all claims

contained herein are hereby DISMISSED WITHOUT PREJUDICE, costs taxed as

paid.

        DONE and ORDERED this the 18th day of July, 2017.



                                               VIRGINIA EMERSON HOPKINS
                                               United States District Judge
